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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                Plaintiff,

        v.                                           Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

                Defendants.


                             DEFENDANTS’ MOTION TO DISMISS
                              AND FOR EXPEDITED JUDGMENT

       Defendants hereby move to dismiss and for expedited judgment. The grounds for the

motion are explained in the accompanying memorandum in support of this Motion. A proposed

order is also submitted herewith.

 Dated: April 2, 2025                    Respectfully submitted,
        Washington, D.C.

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